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                           UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION
                          CIVIL ACTION NO.: 3:20-cv-00627-RGJ

                                 ELECTRONICALLY FILED

DUSTIN HOWARD RUSSELL                                                              PLAINTIFF

v.

JAMES UNDERWOOD;
MELISSA JOHNSON                                                                DEFENDANTS


                DEFENDANT, MELISSA JOHNSON’S, CERTIFICATION


       Comes the Defendant, Melissa Johnson, by counsel, and hereby certifies that she has

produced to Plaintiff all records or documentation within her possession which is relevant to the

claim set forth in Plaintiff’s Complaint that were allowed to proceed.




                                                     Respectfully submitted,


                                                     /s/ Robert J. Shilts
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                                                     James E. Smith – KY 90979
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                                CERTIFICATE OF SERVICE


       I hereby certify that a copy of the foregoing was sent via U.S. Mail, postage pre-paid,
and/or via electronic service this 23rd day of June, 2021 to the following:


 Legal Mail: Inmate # 191746                   R. Keith Bond
 Dustin Howard Russell                         Coleman Lochmiller & Bond
 Southeast State Correctional Complex          P.O. Box 1177
 P.O. Box 1600                                 Elizabethtown, Kentucky 42702
 Wheelwright, Kentucky 41669                   270-737-0600 Tel.
 Pro Se Plaintiff                              Counsel for Defendant, Jamie Underwood



/s/ Robert J. Shilts
Robert J. Shilts
James E. Smith
Counsel for Defendant,
Melissa Johnson
